                                                                                                              (colors subject to change)




84018 / 85018 84019 / 85019 84020 / 85020 84021 / 85021 84022 / 85022 84023 / 85023
on a card on a glass on a card on a glass on a card on a glass on a card on a glass on a card on a glass on a card on a glass
     86018                86019                 86020                86021                86022                 86023
 Chubby on a card     Chubby on a card      Chubby on a card     Chubby on a card     Chubby on a card     Chubby on a card




84024 / 85024 84025 / 85025 84026 / 85026 84027 / 85027 84028 / 85028 84029 / 85029
on a card on a glass on a card on a glass on a card on a glass on a card on a glass on a card on a glass on a card on a glass
     86024                86025                 86026                86027                86028                 86029
 Chubby on a card     Chubby on a card      Chubby on a card     Chubby on a card     Chubby on a card     Chubby on a card




84030 / 85030 84031 / 85031 84032 / 85032 84033 / 85033 84034 / 85034 84035 / 85035
on a card on a glass on a card on a glass on a card on a glass on a card on a glass on a card on a glass on a card on a glass
     86030                86031                86032                 86033                86034                 86035
 Chubby on a card     Chubby on a card     Chubby on a card      Chubby on a card     Chubby on a card     Chubby on a card




84036 / 85036 84037 / 85037 84038 / 85038 84039 / 85039 84040 / 85040 84041 / 85041
on a card on a glass on a card on a glass on a card on a glass on a card on a glass on a card on a glass on a card on a glass
     86036                86037                 86038                86039                86040                 86041
 Chubby on a card     Chubby on a card      Chubby on a card     Chubby on a card     Chubby on a card     Chubby on a card




84042 / 85042 84043 / 85043 84044 / 85044 84045 / 85045 84046 / 85046 84047 / 85047
on a card on a glass on a card on a glass on a card on a glass on a card on a glass on a card on a glass on a card on a glass
     86042                86043                 86044                86045                86046                 86047
 Chubby on a card     Chubby on a card     Chubby on a card      Chubby on a card     Chubby on a card     Chubby on a card

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                                                                                                                       (colors subject to change)




  84048 / 85048 84049 / 85049 84050 / 85050 84051 / 85051 84052 / 85052 84053 / 85053
 on a card on a glass on a card on a glass on a card on a glass on a card on a glass on a card on a glass on a card on a glass
       86048                  86049                  86050                 86051                  86052                  86053
   Chubby on a card       Chubby on a card      Chubby on a card       Chubby on a card       Chubby on a card      Chubby on a card




  84054 / 85054 84055 / 85055 84056 / 85056 84057 / 85057 84058 / 85058 84059 / 85059
 on a card on a glass on a card on a glass on a card on a glass on a card on a glass on a card on a glass on a card on a glass
       86054                  86055                 86056                  86057                  86058                  86059
   Chubby on a card      Chubby on a card       Chubby on a card       Chubby on a card      Chubby on a card       Chubby on a card




                              DOUBLE GLOVIES™
Set of 2 Glovies™ on cards, packaged together in a poly bag with a drink recipe from the “W.I.N.O.S.® Women In Need Of Spirits” cookbook.
                                                  Minimum order of 6 sets, 24 total pieces.




           83000                       83001                       83005                       83008                         83012




           83015                       83017                       83019                       83034                         83540

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                              HOLIDAY GLOVIES™
                                   Each Glovie™ is individually packaged in a zebra print gift box with a
                                 drink recipe from the “W.I.N.O.S.® Women In Need Of Spirits” cookbook.
                            Glovie™ fits most mid-sized wine glasses. Chubby Glovie™ fits larger red wine glasses.
  84540 / 85540                                  Minimum order of 6 each, 24 pieces total.                             84550 / 85550
  on a card on a glass                                                                                                on a card on a glass




  84500 / 85500 84501 / 85501 84502 / 85502 84503 / 85503 84504 / 85504 84505 / 85505
 on a card on a glass on a card on a glass on a card on a glass on a card on a glass on a card on a glass on a card on a glass
        86500                  86501                  86502                   86503                  86504                  86505
   Chubby on a card       Chubby on a card        Chubby on a card       Chubby on a card       Chubby on a card        Chubby on a card




  84506 / 85506 84507 / 85507 84508 / 85508 84509 / 85509 84510 / 85510 84530 / 85530
  on a card on a glass on a card on a glass on a card on a glass on a card on a glass on a card on a glass on a card on a glass
        86506                  86507                  86508                   86509                  86510                  86530
   Chubby on a card        Chubby on a card       Chubby on a card       Chubby on a card       Chubby on a card        Chubby on a card



                               CHUBBY GLOVIES™
Each Chubby Glovie™ is individually packaged in a poly bag with a drink recipe from the “W.I.N.O.S.® Women In Need Of Spirits” cookbook.
 Chubby Glovie™ fits larger red wine glasses and is available in other sayings (see previous pages). Minimum order of 6 each, 24 pieces total.




         86900                        86901                       86902                       86903                       86904
     Chubby on a card            Chubby on a card            Chubby on a card             Chubby on a card            Chubby on a card




         86905                        86906                       86907                       86908                       86909
     Chubby on a card            Chubby on a card            Chubby on a card             Chubby on a card            Chubby on a card

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